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                             United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION

  MARY J. ROBERTS                                      §
                                                       §   Civil Action No. 4:17-CV-876
  v.                                                   §   (Judge Schell/Judge Nowak)
                                                       §
  COMMISSIONER, SSA                                    §

                    MEMORANDUM ADOPTING REPORT AND
             RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

           Came on for consideration the report of the United States Magistrate Judge in this action,

  this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

  On September 28, 2020, the report of the Magistrate Judge (Dkt. #25) was entered containing

  proposed findings of fact and recommendations that Plaintiff’s “Petition to Obtain Approval of a

  Fee for Representing a Social Security Claimant” under 42 U.S.C. § 406(b) (Dkt. #22) be granted.

           Having received the report of the Magistrate Judge, and no objections thereto having

  been timely filed, the court is of the opinion that the findings and conclusions of the Magistrate

  Judge are correct and adopts the Magistrate Judge’s report as the findings and conclusions of the

  court.

           It is therefore ORDERED that Plaintiff’s “Petition to Obtain Approval of a Fee

  for Representing a Social Security Claimant” under 42 U.S.C. § 406(b) (Dkt. #22) is

  GRANTED. Plaintiff’s attorney is awarded a fee in the amount of six thousand five hundred

  sixty dollars and fifty cents ($6,560.50), to be paid from Plaintiff’s past due benefits being

  withheld by the Commissioner for attorney fees. Upon receipt of such payment, Plaintiff’s

  attorney shall refund to Plaintiff the EAJA award previously granted in this cause.

           IT IS SO ORDERED.
                                .   SIGNED this the 20th day of October, 2020.




                                                                        _______________________________
                                                                        RICHARD A. SCHELL
                                                                        UNITED STATES DISTRICT JUDGE
